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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

ROBBIE BURKE, as the Special
Administrator of the Estate of Elliot Earl
Williams, Deceased,

Plaintiff,

V.
Case No. 4:11-CV-720-JED-PJC
VIC REGALADO, SHERIFF OF TULSA
COUNTY, in His Official

Capacities, et al.,

Defendants.
RELEASE AND DISCHARGE OF JUDGMENT

Robbie Burke, as the Special Administratrix of the Estate of Elliot Earl Williams, deceased,
by and through her attorneys, in consideration of the settlement agreement reached between the
parties, which requires the parties to jointly move the Court to enter a new Agreed Judgment as a
final resolution of this case, hereby releases and discharges the Judgments entered by this Court
on March 22, 2017 and August 29, 2017, against Defendants Vic Regalado, in his official capacity,
and Stanley Ganz, in his individual capacity, Dkt. Nos. 499 and 548, respectively, and any sureties
thereon. As a result of the instant release and discharge, Plaintiff relinquishes all rights to the
judgments herein (Dkt. Nos. 499 and 548) and which are released and Defendants are relieved of

and from any and all obligations thereunder.

Respectfully Submitted,

/s/ Robert M. Blakemore

Daniel E. Smolen, OBA#19943
Robert M. Blakemore, OBA #18656
SMOLEN & ROYTMAN

701 S. Cincinnati Ave.

Tulsa, Oklahoma 74119

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STATE OF OKLAHOMA )
) ss.
COUNTY OF TULSA )

I, Robbie Burke, as Special Administratrix of the Estate of Elliot Earl Williams, deceased,
of lawful age, being first duly sworn, upon oath, deposes and states: that she is the Plaintiff
above-named; that she has read the above and foregoing documents; and, that she believes the
information contained therein to be true and correct to the best of his knowledge and belief.

 

Robbie Burke, as Special Administratrix of the
Estate of Elliot Earl Williams, deceased

STATE OF OKLAHOMA )
) ss.
COUNTY OF TULSA )

BEFORE ME, the undersigned notary public, on this day personally appeared Robbie
Burke, as Special Administratrix of the Estate of Elliot Earl Williams, known to me to be the

person whose name was subscribed to the foregoing instrument, and acknowledged to me that
he/she executed the same for the purposes and consideration therein expressed.

SUBSCRIBED AND SWORN TO BEFORE ME on the A2O? ay of November, 2019,
to certify which witness ee ding and official seal.

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CERTIFICATE OF SERVICE

This is to certify that on the November 27, 2019, I electronically transmitted the foregoing

document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to all ECF registrants entered in this case.

/s/ Robert M. Blakemore
